          Case 1:08-cv-01034-AT Document 877 Filed 01/13/22 Page 1 of 3




UNITED STATES DISTRICT COURT                             USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                            DOCUMENT
DAVID FLOYD, et al.,                                     ELECTRONICALLY FILED
                                                         DOC #:
                              Plaintiffs,                DATE FILED: 1/13/2022

               -against-


CITY OF NEW YORK,                                                 08 Civ. 1034 (AT)

                              Defendant.
KELTON DAVIS, et al.,

                              Plaintiffs,

               -against-
                                                                   10 Civ. 699 (AT)

CITY OF NEW YORK,

                              Defendant.
JAENEAN LIGON, et al.,

                              Plaintiffs,

               -against-                                          12 Civ. 2274 (AT)


CITY OF NEW YORK,                                                      ORDER

                        Defendant.
ANALISA TORRES, District Judge:

       On August 12, 2013, the Court appointed Peter L. Zimroth to serve as the independent
monitor to oversee the reform process ordered by the Court in the above-captioned matters.1
Remedial Order, Floyd v. City of New York, No. 08 Civ. 1034 (S.D.N.Y. Aug. 12, 2013). Mr.
Zimroth served as monitor until his death on November 8, 2021. The Court now appoints Mylan
L. Denerstein (the “Monitor”) to succeed Mr. Zimroth.

1
  On February 4, 2015, the parties in Davis v. City of New York adopted by stipulation the
remedies set forth in the Floyd Remedial Order, including the appointment of the Monitor.
Settlement at 4, Davis v. City of New York, No. 10 Civ. 0699 (S.D.N.Y. Feb. 4, 2015), ECF No.
330, at 10–11. All citations to the docket refer to the docket in Floyd v. City of New York, No. 08
Civ. 1034 (S.D.N.Y.), unless otherwise indicated.
            Case 1:08-cv-01034-AT Document 877 Filed 01/13/22 Page 2 of 3




       Ms. Denerstein is a litigation partner and Co-Partner-in-Charge of Gibson, Dunn &
Crutcher LLP’s New York office. She previously served in a variety of government roles
including as an Assistant United States Attorney and Deputy Chief of the Criminal Division in
the United States Attorney’s Office for the Southern District of New York, Executive Deputy
Attorney General in the New York Attorney General’s Office, Counsel to the New York State
Governor, and Deputy Commissioner for Legal Affairs for the New York City Fire Department.

        Ms. Denerstein maintains a strong commitment to community service and the public
interest. She is a member of the Women’s White Collar Defense Association, Association of
Black Women Attorneys, New York City Bar Association, National Bar Association, New York
State Bar Association, and Metropolitan Black Bar Association. She also serves on the Boards
of the American Red Cross of Greater New York, Sanctuary for Families, and the City Bar Fund
of the New York City Bar Association.

       Ms. Denerstein graduated from Columbia Law School in 1993, where she was named a
Charles Evans Hughes Fellow for outstanding commitment to public service and received the
Jane Marks Murphy Prize.

       As Monitor, Ms. Denerstein’s role, functions, and privileges shall be as follows:

       1.     The Monitor shall be subject to the supervision and orders of the Court. The
              Monitor shall be discharged or replaced only upon an order of this Court.

       2.     The Monitor shall not, and is not intended to, replace or assume the role or duties of
              any City or NYPD staff or officials, including the Commissioner. The Monitor’s
              duties, responsibilities, and authority shall be no broader than necessary to end the
              constitutional violations in the NYPD’s stop-and-frisk practices described in the
              Court’s opinion dated August 12, 2013, finding that the City is liable for violating
              Plaintiffs’ constitutional rights, ECF No. 373. As stipulated by the parties in Davis,
              this also encompasses the NYPD’s practices related to stops and arrests for criminal
              trespass. Settlement at 10–11, Davis v. City of New York, No. 10 Civ. 0699.

       3.     The Monitor shall inform the City of the milestones the City must achieve in order
              to demonstrate compliance and bring the monitoring process to an end.

       4.     The Monitor shall continue to regularly conduct compliance and progress reviews
              to assess the extent to which the NYPD has implemented and complied with the
              Court’s mandated reforms.

       5.     The Monitor shall issue public reports every six months detailing the NYPD’s
              compliance with the Court’s mandated reforms. The Monitor shall file these reports
              with the Court.

       6.     The Monitor shall work with the parties to address any barriers to compliance. To
              the extent possible, the Monitor shall develop a collaborative rather than adversarial
              relationship with the City.


                                                 2
           Case 1:08-cv-01034-AT Document 877 Filed 01/13/22 Page 3 of 3




      7.     The Monitor may make requests to the Court to modify any ordered reforms if the
             evidence shows that such modifications are warranted.

      8.     The Monitor may request technical assistance from outside experts. She may also
             employ staff assistance as she finds reasonable and necessary.

      9.     The City shall be responsible for the cost of the Monitor, her staff, and any experts
             she retains. The Monitor shall be compensated in accordance with the terms set
             forth in the order dated February 5, 2015, as amended on November 8, 2021. ECF
             No. 478.

      10.    Additional duties may be assigned to the Monitor, in subsequent orders, upon notice
             to the parties and opportunity to be heard with regard to those additional duties.

      11.    As an agent and officer of the Court, the Monitor, and those working at her
             direction shall enjoy the same protections from being compelled to give testimony
             and from liability for damages as those enjoyed by other federal judicial adjuncts
             performing similar functions.

      12.    The parties and their successors in office, agents, and employees shall observe
             faithfully the requirements of this Order and cooperate fully with the Monitor in the
             performance of her duties.

      13.    The Monitor’s position shall come to an end when the City has achieved
             compliance with the Court’s mandated reforms.

      SO ORDERED.

Dated: January 13, 2022
       New York, New York




                                                3
